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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

STREAM TV NETWORKS, INC.,                             )
                                                      )
                  Plaintiff,                          )
                                                      )
        v.                                            )   No. 22-851-RGA
                                                      )
SHADRON STASTNEY, ARTHUR                              )
LEONARD ROBERT MORTON, ALASTAIR                       )
CRAWFORD, ASAF GOLA, KEVIN                            )   JURY TRIAL DEMANDED
GOLLOP, KRZYSZTOF KABACINSKI,                         )
PATRICK MILES, ROBERT PETCH, HAWK                     )
INVESTMENT HOLDINGS LIMITED, and                      )
JOHN DOES 1-75,                                       )
                                                      )
                  Defendants.                         )


                                FIRST AMENDED COMPLAINT

        COMES NOW Plaintiff Stream TV Networks, Inc. (“Stream TV” or the “Company”), by

and through undersigned counsel and pursuant to Fed. R. Civ. P. 8, stating its Amended Complaint

against Defendants, alleging as follows:

                                      NATURE OF ACTION

        1.        This is a $500,000,000.00 tort damages case. Defendants stole Plaintiff’s assets

and intellectual property via a complicated hostile takeover conspiracy of internal business

sabotage and bribery. The Supreme Court of Delaware en banc recently declared that unlawful

takeover scheme void ab initio. During their period of unlawful control of the assets, Defendants

valued the stolen technology at $560 million in their public investment solicitations. Now,

Defendants are liable in damages for conduct already declared unlawful by a unanimous Delaware

Supreme Court, in damages grounded at least upon valuations that Defendants themselves

published.


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        2.        Defendants are not good faith investors who made an honest mistake. They are

serial malfeasants in crooked takeover schemes and also frequent defendants in sanctions

proceedings by U.S. federal authorities.

        3.        Defendant Shadron L. Stastney (“Stastney”) runs unlawful takeover schemes as his

personal business model and has been sued up and down the East Coast at least six times for

defrauding investors in similar shady gambits. He also has paid a $3 million fine to the SEC for

fraudulently concealing his personal interests in such takeover schemes. This time around, he

engaged two UK co-conspirators: Alistair Crawford and Arthur “Bob” Morton.

        4.        Defendant Arthur Leonard Robert “Bob” Morton (“Morton”) is a notoriously

unscrupulous takeover artist dubbed “Bad Bob” by the Financial Times, among others.

Immediately prior to the events of this case, the UK Financial Conduct Authority banned all UK

banks and brokers from participating in any take-over activity in which Mr. Morton is involved, a

dramatic sanction known as “Cold Shouldering”. The Cold Shoulder is the colloquial “death

penalty” sanction for UK investment managers, because it establishes both criminal and civil

abetting liability for any other regulated entity who deals with the recipient of the sanction. The

committee that punished Morton found that he systematically lied, had invented an agreement to

try to hide his malfeasance, and had engaged in egregious misconduct. Barred from acquisition

activity in the United Kingdom, Mr. Morton chose to take his show on the road by joining Mr.

Stastney in similar misconduct in the US.

        5.        Defendant Alastair Crawford (“Crawford”) is a serial litigant who, spurned by not

receiving undeserved commissions, began a campaign to smear Stream TV’s controlling

stockholders with the goal of taking over Stream TV and its assets.




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        6.        In 2019 and early 2020, Stastney, Crawford, and Morton concocted a scheme to

bribe a series of Plaintiff’s managers to sabotage: (a) Plaintiff’s exercise of certain debt conversion

rights held against Plaintiff’s secured debtholders, (b) Plaintiff’s recapitalization via an equity

issuance, which rendered their (anyway converted) debt instruments obsolete; and (c) Plaintiff’s

ability to raise funds and sell products. The point of the conspiracy was to destroy Stream TV

from the inside, to cause default events on certain debt instruments that the conspirators had

acquired, and thereafter to use those manufactured default events as a pretext for the co-

conspirators to sign over all assets of Stream TV to a shell company, SeeCubic, Inc. (“SeeCubic”),

controlled by the conspirators, for zero dollars, through an Omnibus Agreement (Ex. A). Stastney,

Crawford, and Morton employed the other Defendants to carry out their scheme.

        7.        The scheme was grounded upon bribing at least three of Plaintiff’s managers and

directors: Defendants Kabacinski, Gollop, and Gola. The debtholders promised those managers

lavish compensation within a future investment vehicle – now known to be SeeCubic – (some of

which has since been paid), as a quid pro quo for manufacturing default events within Stream TV

and for putting Stream TV’s assets and intellectual property under the control of the Defendants.

Gollop and Gola were each paid a substantial amount for their participation in the conspiracy.

Kabacinski cut a better deal for himself and was paid $390,000. Additionally, all received stock

in SeeCubic, the newly formed entity that received Stream TV’s assets.

        8.        Kabacinski and Stastney in turn bribed other managers and contractors to facilitate

and carry out the conspiracy. For example, Kabacinski bribed Kaushik Banerjee (“Banerjee”),

Stream TV’s Vice President of Engineering, to transfer an IT server holding critical intellectual

property from Stream TV to the conspirators. In return, Kabacinski promised Banerjee a $2

million contract in a subsequent shell company to manage the technology. But Kabacinski double-


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crossed Banerjee and failed to pay the bribe after Banerjee upheld his end of the illegal bargain to

steal the server. That double-cross resulted in California fraud litigation through which many facts

of the conspiracy came to light.

        9.        For a time, Defendants’ conspiracy succeeded due to a series of unfortunate

erroneous rulings by the Delaware Court of Chancery beginning in December 2020. But on June

15, 2022, the Delaware Supreme Court sitting en banc reversed the Court of Chancery and

definitively ruled that Plaintiff is now and was always the lawful owner of Plaintiff’s own assets

and intellectual property. Defendants never had any right to Plaintiff’s assets and intellectual

property; their takeover scheme was unlawful.

        10.       Because Defendants never held any right whatsoever to Plaintiff’s property, all of

Defendants’ exercise of dominion and control over that property from January 2020 to today

constitutes tort conversion. The Defendants conspired together to convert Plaintiff’s assets and

intellectual property, and thereafter to monetize it for their own benefit, at a publicly stated

valuation of $560,000,000.00. Defendants stole Plaintiff’s property under fraudulent color of law,

at their own peril, hoping they could outlast Plaintiff in the prior litigation before being called to

account. Defendants’ unlawful conspiracy bet did not pay off, and all Defendants are now liable

in tort for the harm their unlawful scheme caused Plaintiff.

                                              PARTIES
        11.       Plaintiff Stream TV Networks, Inc. is a Delaware corporation with its principal

place of business in Philadelphia, Pennsylvania. Stream TV is a new media company founded in

2009 that aims to advance the evolution of display technology from a flat 2-D world to an

immersive one made possible in 3-D without the viewer needing to wear special 3-D glasses.




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        12.       The Rajan family controls Stream TV. Mathu Rajan holds 18,000 shares of Class

A common stock. An investment vehicle owned by Mathu Rajan, his brother, Raja Rajan, and

their parents holds the majority of Stream TV’s Class B voting stock.

        13.       In addition to the Rajan family, 116 investors own 7,698,964 Class B voting shares

of Stream TV.

        14.       Defendant Shadron L. Stastney is a resident of New Jersey. Stastney was a director

of Stream TV from 2011 through 2014, when he resigned because he faced sanctions from the

Securities and Exchange Commission, in an action captioned In the Matter of Shadron L. Stastney,

United States Security and Exchange Comm. Admin. File No. 3-15500, Release Nos. 3671, 30689

(Sept. 18, 2013).     Stastney later re-engaged with Stream TV as a director from approximately

September 2018 to January 2020 and Chief Financial Officer from December 1, 2018 to January

30, 2020. Stastney is also the Managing Member of SLS Holdings VI, LLC (“SLS”). SLS in turn

is Stream TV’s senior secured creditor, on convertible notes for approximately $6 million.

        15.       Defendant Arthur Leonard Robert Morton is a resident of Jersey of the United

Kingdom Channel Islands. Upon information and belief, Morton owns and/or controls Defendant

Hawk Investment Holdings Limited (“Hawk”), Stream TV’s junior secured creditor, through other

entities owned and controlled by him, including Albany Directors Limited. In addition to the

“Cold Shouldering,” Morton earned two private censures and one public censure from the United

Kingdom’s Panel on Takeovers and Mergers.

        16.       Defendant Hawk Investment Holdings Limited is an entity formed under the laws

of Guernsey. Upon information and belief, Morton owns and/or controls Hawk, including through

entities owned and controlled by him, including Albany Directors Limited.




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        17.       Defendant Alastair Crawford is a resident of the United Kingdom and an investor

in Stream TV.

        18.       Defendant Patrick Miles is a resident of the United Kingdom and an investor in

Stream TV.

        19.       Defendant Robert Petch is a resident of the United Kingdom and an investor in

Stream TV.

        20.       Defendant Asaf Gola is a resident of New York. Gola is an equities trader and

portfolio manager by training, previously employed by various investment banks and capital

managers. From approximately March until May 2020, Gola was briefly a director of Stream TV.

Gola joined the Stream TV Board as an act in furtherance of the conspiracy alleged in this

Amended Complaint, for the specific purpose of unlawfully signing over Stream TV’s assets to

shell companies owned by the other Defendants. In exchange, Gola was awarded the position of

Head of Capital Markets at one of those shell companies, SeeCubic, at which he is currently

employed in New York, and, on information and belief, was also paid a substantial amount.

        21.       Defendant Kevin Gollop is a resident of Jersey of the United Kingdom Channel

Islands. Gollop is an insurance broker by training, specializing in maritime insurance. He later

owned various Jersey-based consultancies and investment firms. He currently is Managing

Director of a Jersey-based maritime industry recruitment firm known as Channel Ship Services.

From approximately March until May 2020, Gollop was briefly a director of Stream TV. Gollop

joined the Stream TV Board as an act in furtherance of the conspiracy alleged in this Amended

Complaint, for the specific purpose of unlawfully signing over Stream TV’s assets to shell

companies owned by the other Defendants. In exchange, Gollop was paid a substantial sum.




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         22.      Defendant Krzysztof “Kris” Kabacinski is a resident of the United Kingdom.

Kabacinski was CEO and recently demoted to Chief Strategy Officer of SeeCubic and was

described on its website as “one of two founding architects of its current corporate structure,”

which he structured and operated specifically to carry out the unlawful conspiracy described in

this Amended Complaint. Kabacinski was previously an executive of MEON Corporate Group,

which inter alia manages paving projects in Central Europe. Kabacinski briefly served on the

Board of Stream TV from March to May 2020, to which he was appointed at the request of Stastney

Crawford, and Morton in furtherance of the conspiracy described in this Amended Complaint. In

exchange, on information and belief, Kabacinski was paid $390,000 and given a large amount of

stock in SeeCubic.

                                  JURISDICTION AND VENUE

         23.      The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§1332(a) (diversity jurisdiction) because there is complete diversity of citizenship between Stream

TV and Defendants, and the amount in controversy exceeds $75,000, exclusive of interest and

costs.

         24.      The Court has personal jurisdiction over Stastney pursuant to 10 Del. C. § 3114

because he was at the relevant time, a director and officer of Stream TV, a Delaware corporation.

         25.      The Court has personal jurisdiction over Stastney pursuant to 10 Del. C. § 3104

because he transacts business and performs work in Delaware, and because he caused tortious

injury to Stream TV within Delaware.

         26.      The Court has personal jurisdiction over Morton pursuant to 10 Del. C. § 3104

because he transacts business and performs work in Delaware, and because he caused tortious

injury to Stream TV within Delaware.


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        27.       The Court has personal jurisdiction over Crawford pursuant to 10 Del. C. § 3104

because he transacts business and performs work in Delaware, and because he caused tortious

injury to Stream TV within Delaware.

        28.       The Court has personal jurisdiction over Miles pursuant to 10 Del. C. § 3104

because he transacts business and performs work in Delaware, and because he caused tortious

injury to Stream TV within Delaware.

        29.       The Court has personal jurisdiction over Petch pursuant to 10 Del. C. § 3104

because he transacts business and performs work in Delaware, and because he caused tortious

injury to Stream TV within Delaware.

        30.       The Court has personal jurisdiction over Hawk pursuant to 10 Del. C. § 3104

because it transacts business and performs work in Delaware, and because it caused tortious injury

to Stream TV within Delaware.

        31.       The Court has personal jurisdiction over Gola pursuant to 10 Del. C. § 3114 because

was at the relevant time a director of Stream TV, a Delaware corporation.

        32.       The Court has personal jurisdiction over Gola pursuant to 10 Del. C. § 3104 because

he transacts business and performs work in Delaware, and because he caused tortious injury to

Stream TV within Delaware.

        33.       The Court has personal jurisdiction over Gollop pursuant to 10 Del. C. § 3114

because he is, or was at the relevant time, a director of Stream TV, a Delaware corporation.

        34.       The Court has personal jurisdiction over Gollop pursuant to 10 Del. C. § 3104

because he transacts business and performs work in Delaware, and because he caused tortious

injury to Stream TV within Delaware.




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        35.       The Court has personal jurisdiction over Kabacinski pursuant to 10 Del. C. § 3114

because he is, or was at the relevant time, a director and officer of Stream TV, a Delaware

corporation.

        36.       The Court has personal jurisdiction over Kabacinski pursuant to 10 Del. C. § 3104

because he transacts business and performs work in Delaware, and because he caused tortious

injury to Stream TV within Delaware.

        37.       Venue is proper under 28 U.S.C. § 1391.

                                               FACTS

        A.        Stream TV

        38.       Between 2009 and 2020, Stream TV raised approximately $160 million through

equity investments, unsecured convertible debt, and direct loans. Stream TV used those funds to

further develop its 3D technology by obtaining numerous patents, improving image resolution,

increasing the size of the displays, developing mobile-type tablets, and moving algorithms into

hardware (which reduces costs and makes the technology compatible with most devices in the

industry).

        39.       Eventually, Stream TV perfected its mass production “bonding” process –

precise gluing of proprietary lenses to video panels with sub-pixel accuracy – which major

competitors such as Philips Electronics and Dolby have not achieved. Stream TV thereafter pivoted

to readying its technology for implementation into the devices of major industry players that sell

TVs, tablets, laptops, and mobile phones.

        40.       Stream TV’s assets include two optical bonding lines – a Mass Production Line and

a Small Production Line that can be used to bond products for all three technology platforms: Two-

View, Multi-View, and Stream TV’s proprietary Ultra-D™.


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        41.       Stream TV grew to over 100 employees and consultants worldwide.

        42.       Through one of its Netherlands subsidiaries, Stream TV entered into an agreement

with Robert Bosch GmbH in March 2020 to co-develop a glasses-free 3D instrument cluster for

the automotive market.

        43.       During this critical commercialization period in early 2020, Stream TV suffered

financial challenges. As it had through its past $160 million of prior capital raises, Stream TV

intended to address its liquidity requirements with an additional capital raise.

        44.       Stream TV’s secured creditors had signed certain debt-to-equity conversion

agreements in 2018. And, in 2020, Stream TV was weeks away from signing a major

commercialization agreement with Alphabet, Inc., the parent company of Google.

        45.       Stream TV did not declare Chapter 11 bankruptcy or take other judicial

reorganization acts during those early 2020 financial difficulties because it instead intended to

raise capital (as it had successfully done in the past) after announcing its anticipated contract with

Google.

        B.        Stream TV’s Charter Guarantees Blocking Rights to the Class B Voting
                  Shareholders to Veto Asset Transfers

        46.       Stream TV’s December 17, 2018 Third Amended and Restated Certificate of

Incorporation (the “Charter,” Ex. B) expressly requires Class B voting shareholder approval for

all possible transactions that could remove control of Stream TV’s technology from the Class B

voting shareholders (including the Rajans), however named. This provision was originally added

in 2013, and Stastney voted in favor of adding this provision.

        47.       Charter § IV.D.2(d) provides:

                  Separate Vote of Class B Voting Stock. For so long as shares of Class B
                  Voting Stock remain outstanding, in addition to any other vote or consent
                  required herein or by law, the affirmative vote or written consent of the

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                  holders of a majority of the then-outstanding shares of Class B Voting Stock,
                  voting as a separate class, shall be necessary for the Company to
                  consummation [sic] an Acquisition or Asset Transfer.

        48.       Charter § IV.D.4(b) further defines the term “Acquisition” as:

                  (A) any consolidation, stock exchange or merger of the Company with or
                  into any other corporation or other entity or person, or any other
                  corporate reorganization, other than any such consolidation, merger or
                  reorganization in which the stockholders of the Company immediately prior
                  to such consolidation, merger or reorganization, continue to hold a majority
                  of the voting power of the surviving entity in substantially the same
                  proportions (or, if the surviving entity is a wholly-owned subsidiary, its
                  parent) immediately after such consolidation, merger or reorganization; or
                  (B) any transaction or series of related transactions to which the
                  Company is a party and in which in excess of fifty percent (50%) of the
                  Company’s voting power is transferred provided that an Acquisition shall
                  not include (x) any consolidation or merger effected exclusively to change
                  the domicile of the Company, or (y) any transaction or series of
                  transactions principally for bona fide equity financing purposes in which
                  cash is received by the Company or any successor or indebtedness of the
                  Company is cancelled or converted or a combination thereof.

(emphasis added). And, the term “Asset Transfer” is defined as:

                  a sale, lease or other disposition of all or substantially all of the assets or
                  intellectual property of the Company or the granting of one or more
                  exclusive licenses which individually or in the aggregate cover all or
                  substantially all of the intellectual property of the Company.

        C.        Stream TV’s Secured Creditors

        49.       In 2011 and 2012, SLS loaned Stream TV $6 million via multiple senior notes,

secured against all assets of Stream TV and its subsidiaries.

        50.       Between 2014 and 2020, Hawk loaned Stream TV over £50 million plus $1.336

million through a series of 17 separate notes. Stream TV also pledged its assets for those notes

subject to SLS’s senior security, thereby rendering Hawk a junior secured creditor.

        51.       Under separate conversion agreements between and amongst Stream TV, Hawk,

and SLS, all of the notes issued to Stream TV by Hawk and SLS would convert to equity in the


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event Stream TV raised additional capital. Under each of the conversion agreements, Stream TV

had the sole and unilateral discretion to convert debt to equity.

        D.        The Conspiracy to Take Stream TV’s Assets

        52.       Stastney was an early investor in Stream TV and was on its Board from 2011 until

2014. Stream TV was unaware of Stastney’s legal troubles and his history of takeovers when he

joined Stream TV.

        53.       At some point, Stream TV became aware that Stastney had legal issues with the

SEC. While he was being investigated by the SEC, Stastney voluntarily quit Stream TV’s Board.

He was reappointed to the Board by the other Board members in 2018 without the Rajans’ consent

or knowledge. Stastney was promoted to Vice-Chairman without prior consultation of the Rajans.

Stastney was also named CFO at the insistence of Crawford. Stastney resigned his Board and CFO

positions on January 30, 2020 so that he could pursue his takeover scheme.

        54.       Morton was an early investor in Stream TV, and his legal troubles were similarly

unknown to Stream TV when he first invested in 2011. Stream TV and the Rajans had a good

relationship with Morton through 2020.          However, upon information and belief, Morton

maintained a good relationship with the Rajans in furtherance of the conspiracy to take control of

Stream TV’s assets.

        55.       Similarly, Stream TV was unaware of Crawford’s character and history when he

first became an investor. Stream TV originally had a good relationship with Crawford, who

brought numerous investors to Stream TV.

        56.       Stream TV had a good relationship with Stastney until 2018. Upon information

and belief, Stastney became unhappy with the Rajans’ leadership of Stream TV at the end of 2018

because he feared that Stream TV’s fundraising efforts would cause him to lose the control and


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influence that he had regained in Stream TV, and he was concerned that SLS’s loans would be

converted to equity despite having previously signed the conversion agreement.

        57.       Further, Stastney was unhappy with his inability to receive payment on the senior

debt owned by SLS, even though payments were not yet due on those loans. Stastney’s conversion

agreement permitted Stream TV to convert the $6 million of senior debt owned by SLS (controlled

by Stastney) to common equity.         Stastney did not want his debt converted despite having

previously signed the conversion agreement. The Rajan family wished to execute Stream TV’s

conversion rights against SLS, clearing Stream TV’s balance sheet to ramp up fundraising efforts

to go to mass production.

        58.       Stastney proposed an alternative to converting the SLS debt into equity: instead,

Stream TV should repay SLS $6 million loan dollar-for-dollar using funds from the intended

capital raise. Further, Stastney proposed that a sweep account be set up whereby Stream TV’s new

investment funds, in excess of a certain amount, would be swept into an SLS bank account. The

funds that would have been swept into that account would have surpassed the amount owed to

SLS. Unsurprisingly, the Rajan family rejected Stastney’s alternative proposal.

        59.       Upon information and belief, Crawford became unhappy with the Rajans’

leadership of Stream TV in late 2016 or early 2017. Crawford’s discontent resulted from his desire

to receive unwarranted commissions from the fundraising efforts of others. When he did not

receive the unwarranted commissions, Crawford began his multi-year smear campaign to damage

the Company and the Rajans.

        60.       Upon information and belief, as early as 2018, Stastney, Crawford, and Morton

began to work together to take control of Stream TV and transfer its assets and intellectual property

to a new company they would control together, later incorporated as SeeCubic. Upon information


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and belief, Stastney, Crawford, and Morton recruited Miles, Petch, Hawk, and John Does 1-75 to

aid in their effort to take control of Stream TV and its assets.

        61.       Upon information and belief, Stastney, Crawford, Morton, Miles, Petch, Hawk, and

John Does 1-75 actively worked to prevent Stream TV from raising money. The goal of this effort

was to force Stream TV to default on its secured loans and enable SLS and Hawk as secured

creditors to seize Stream TV’s assets.

        62.       As part of this effort, Crawford began defaming the Rajan family to investors,

including Morton, as early as the summer of 2018. Indeed, Crawford falsely alleged to investors,

including at least Morton, that the Rajans had committed fraud and were lying to investors.

        63.       Upon information and belief, Stastney, Miles, Petch, Hawk, and John Does 1-75

similarly defamed the Rajans in an attempt to prevent Stream TV from raising funds so that Stream

TV’s secured creditors could notice a default of the secured loans.

        64.       In November 2019, months before the signing of the Omnibus Agreement, and

while he was still a director and CFO of Stream TV, Stastney offered employment in SeeCubic to

numerous key Stream TV employees, including Kaushik Banerjee. Stastney used these promises

of employment as bribes to Stream TV employees to effectuate the takeover of Stream TV and

transfer of assets to SeeCubic.

        65.       In January 2020, before the Omnibus Agreement was signed, in anticipation of loan

defaults that had not yet occurred, and while he was still a director and CFO of Stream TV, Stastney

and Morton directed Stream TV employees to restrict access to servers containing vital intellectual

property and computer source code. Stream TV management, engineers, and contractors were

blocked from using the software, thus interfering with contracts and opportunities, causing

millions of dollars in damages.


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        66.       Also in January 2020, Stastney shared his detailed plan for transferring Stream

TV’s assets and intellectual property with Crawford. Upon information and belief, Crawford and

Morton agreed with Stastney’s plan and aided in its execution. Upon information and belief, Miles,

Petch, Hawk, and John Does 1-75 were informed of the plan and aided in its execution. Upon

information and belief, the Defendants rewarded themselves with millions of shares in SeeCubic.

        67.       Stastney resigned from his roles as a member of Stream TV’s Board and CFO on

January 30, 2020, to allow himself to declare Stream TV in default on its loans to SLS. Litigation

ensued.

        68.       Historically, as controlling shareholders, Mathu and Raja Rajan served as the sole

members of Stream TV’s Board of Directors (the “Board”). Between 2011 and 2014,1 Stastney

served as an outside director, and later rejoined the Board as Vice Chairman in 2018 until resigning

in January 2020. Two other outside directors, Leo Hindery and Mark Coleman, also served on the

Board between 2015 and July 2019.

        69.       When Stastney’s proposed “sweep account” was rejected by the Rajans, Hindery

and Coleman left the Stream TV Board. The Rajans agreed to replace them and to further expand

the Board to satisfy the Defendants’ requests.

        70.       In February 2020, four new outside directors were invited to join the Board:

Kabacinski, Gola, Gollop, (the “Outside Directors”) and Frank Hodgson.




1
   Stastney settled a set of SEC charges regarding breaches of fiduciary duty in unrelated
investments in September 2013. The settlement inter alia barred Stastney from investment
advisory work for 18 months. The SEC settlement is public record. In the Matter of Shadron L.
Stastney, United States Security and Exchange Comm. Admin. File No. 3-15500, Release Nos.
3671, 30689 (Sept. 18, 2013), published at https://www.sec.gov/litigation/admin/2013/ia-3671.pdf.

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        71.       In May 2020, in furtherance of the takeover plan and without prior notice to the

Rajans, Kabacinski, Gola and Gollop voted to negotiate a reorganization with Stream TV’s secured

creditors to address Stream TV’s financial difficulties. Hodgson left the meeting early and did not

participate in any voting that day. Upon information and belief, the Outside Directors were acting

upon instructions from the other Defendants. As part of this endeavor, Gola proposed that the

Board create a Resolution Committee, comprised of himself and Gollop, to “resolve any existing

or future debt defaults or claims, and any existing or future litigation, or threats thereof, on behalf

of Stream.” The Rajans requested time for a legal review of the proposal, but the request was

denied, and the Resolution Committee was formed by a vote with the Rajans abstaining from the

Board vote.

        72.       As described herein, Gola and Gollop, acting as the Resolution Committee,

purported to bind Stream TV to an Omnibus Agreement in May 2020 to effect that takeover goal.

        73.       Upon information and belief, other, unknown individuals participated in the

conspiracy discussed in this Complaint.

        E.        The Omnibus Agreement and Secret Letter Agreement

        74.       In January 2020, Crawford, Miles, and a number of other investors filed a lawsuit

against the Rajans in the Court of Chancery of the State of Delaware, captioned Crawford v. Rajan,

No. 2020-0004-JTL. Upon information and belief, the goal of the lawsuit was to block Stream

TV’s ability to raise money, and thus allow Crawford’s co-conspirators to allegedly foreclose on

their secured debt.

        75.       On March 9, 2020, SLS noticed default of its secured notes. The default notice

sparked a flurry of activity among Stream TV’s investors, which eventually led to the appointment

of the Outside Directors and creation of the Resolution Committee on May 4, 2020.


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        76.       On March 23, 2020, before the creation of the Resolution Committee, SLS

commenced litigation in the Delaware Superior Court against Stream TV and three of its wholly

owned subsidiaries for, among other things, the transfer of collateral subject to SLS’s loan

agreements with Stream TV (the “SLS Lawsuit”). The Superior Court assigned a hearing date of

June 2021, nearly 14 months after the filing date. If Stastney wanted to seize Stream TV’s assets

quickly, he would have to find another way.

        77.       On or about May 6, 2020, Gola and Gollop, acting as the Resolution Committee

without input from any other director, third-party legal consultation, or interaction with Company

management, delivered the Omnibus Agreement, signed by them, purporting to bind Stream TV

to a global settlement of pending litigations. The Omnibus Agreement also contemplated the

transfer of all of Stream TV’s assets to a “Newco” established and controlled by SLS and Hawk.

“Newco” was later identified as SeeCubic.

        78.       The Outside Directors did not obtain approval for the Omnibus Agreement from

Stream TV’s Class A or B stockholders, even though Class B stockholder approval is specifically

required by the Company’s Charter for transfer of all or substantially all of the Company’s assets.

        79.       In addition to Gola and Gollop, the Omnibus Agreement was also signed by: (i)

Stastney, on behalf of SLS as its managing member, (ii) Emma McIntosh and Lee Mealing as

authorized signatories for Albany Directors Limited, as sole director of Hawk, and (iii) Crawford,

Petch, and Miles on behalf of a group of 52 of Stream TV’s investors.

        80.       On information and belief, the execution of the Omnibus Agreement by Gola,

Gollop, Crawford, Petch, Hawk, and Miles was orchestrated by all of the Defendants to circumvent

the proper adjudication of the SLS Lawsuit, such that Defendants would obtain possession of

Stream TV’s assets before their alleged right to these assets was adjudicated by the Delaware


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Superior Court. Also in this way, Defendants were able to take the entire value of Stream TV, not

just what the secured creditors were allegedly owed.

        81.       By its terms, the Omnibus Agreement transferred all of Stream TV’s assets to

SeeCubic in lieu of SLS and Hawk foreclosing on Stream TV’s assets. In this way, the Defendants

thwarted the rights of the Class A and Class B shareholders entitled to vote on this transaction

under the Charter, and illegally took possession of all of Stream TV’s assets.

        82.       The Omnibus Agreement also provided for the issuance of one million shares in

SeeCubic to Stream TV, though that issuance was never effectuated. Stream TV’s Class A

common shareholders, other than the Rajans who were expressly excluded, were granted the right

to “exchange” their Class A common shares for the equivalent number of shares of SeeCubic’s

common stock for no cost. The Defendants were able to give themselves a larger ownership

interest in SeeCubic than they had in Stream TV, and thus enrich themselves.

        83.       In connection with the Omnibus Agreement, SLS, Hawk, and certain of Stream

TV’s equity investors (including Crawford, Miles, and Petch) also executed a secret Letter

Agreement dated May 6, 2020. (Ex. C). The existence of this Letter Agreement was purposely

hidden from the Rajans until it was discovered during litigation.

        84.       The Omnibus Agreement incorporated the secret Letter Agreement, under which

Stream TV was obligated to issue 48 million new shares of Stream TV Class A common stock to

SLS, Hawk, and certain investors that could be immediately converted into shares of SeeCubic

common stock.

        85.       The first Whereas clause of Letter Agreement expressly conditions the Omnibus

Agreement upon the additional terms of the Letter Agreement.




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        86.       Those 48 million shares are precisely numbered to shift majority voting control

from the Rajans, whose voting control within Stream TV would decline to 49.9%.

        87.       The Omnibus Agreement therefore not only transferred all of Stream TV’s assets

to SeeCubic and exchanged Stream TV’s common shares for SeeCubic’s common shares, but it

also granted SeeCubic an option to take majority voting control of Stream TV whenever it likes.

        88.       Specifically, the Letter Agreement contemplates that Hawk shall receive

40,000,000 shares of Stream TV’s Class A common stock, which Hawk shall then be entitled to

exchange for a pro rata portion of SeeCubic’s common shares.

        89.       The Letter Agreement also provides that SLS shall receive 4,000,000 shares of

Stream TV’s Class A common stock, which SLS would be able to exchange for a pro rata portion

of SeeCubic’s common shares.

        90.       In addition, the Letter Agreement provides that the investors signing the Omnibus

Agreement would receive (i) 4,000,000 shares of Stream TV’s Class A common stock, and (ii)

2,000,000 warrants of Stream TV. Each investor was entitled to exchange these shares for a pro

rata portion of SeeCubic’s common shares.

        F.        Defendants Use the Unlawful Omnibus Agreement To Seize Control of
                  Stream TV and Its Assets

        91.       Following the Resolution Committee’s approval of the Omnibus Agreement

through Gola and Gollop, and the execution of the Omnibus Agreement on May 6, 2020,

Defendants commenced their premeditated plan to take control of Stream TV and its assets, and

to divert Stream TV’s assets to SeeCubic, which is owned and controlled by Defendants.

Defendants described their plan as a coup.




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          92.     Defendants began by sending a letter to Stream TV’s shareholders informing them

of the takeover. However, Defendants were only able to procure a list of shareholders after

Kabacinski bribed a current Stream TV employee with the promise of employment at SeeCubic.

          93.     Defendants strong-armed Stream TV’s investors into becoming investors of

SeeCubic. Stream TV’s investors were presented with two options: (i) convert their ownership of

Stream TV into ownership of SeeCubic, which would hold all of Stream TV’s assets and

intellectual property, or (ii) continue to own Stream TV, which would have no assets or intellectual

property.

          94.     Defendants went to great lengths to harass investors that backed the Rajans,

including showing up at one investor’s house unannounced and, upon finding out that the investor

was not home, defaming the Rajans to the investor’s wife.

          95.     Upon information and belief, Defendants transferred all of Stream TV’s assets and

intellectual property to SeeCubic for their own gain. For example, Defendants improperly caused

the assignment of Stream TV’s trademarks to SeeCubic.

          96.     Beginning at least in September 2021, Defendants also caused the destruction of

assets rightfully owned by Stream TV. For example, in September 2021, Stastney instructed a

contract partner in Hong Kong to destroy 500 specialty lenses used to calibrate certain asset

machinery.

          97.     Defendants’ mismanagement of Stream TV and its assets has caused substantial

damage to Stream TV. For example, Defendants’ unreasonable requests to Google caused it to

pull out of a contract that had been negotiated before Defendants took control of Stream TV’s

assets.




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        98.       Upon information and belief, SeeCubic lacked any assets or capital until the

Defendants transferred Stream TV’s valuable assets to SeeCubic.

        99.       Upon information and belief, Defendants used Stream TV’s assets to raise capital

in SeeCubic to enrich themselves.

        100.      Stastney benefited from the improper theft of Stream TV’s assets because he owns

or controls shares of SeeCubic’s stock and was named the Executive Chairman of the Board of

SeeCubic.

        101.      Morton benefited from the improper theft of Stream TV’s assets because he owns

or controls shares of SeeCubic’s stock.

        102.      Hawk benefited from the improper theft of Stream TV’s assets because it owns or

controls shares of SeeCubic’s stock.

        103.      Crawford benefited from the improper theft of Stream TV’s assets because he owns

or controls shares of SeeCubic’s stock.

        104.      Gola benefited from the improper theft of Stream TV’s assets because he was

offered a high paying position on SeeCubic’s Board of Directors.

        105.      Gollop benefited from the improper theft of Stream TV’s assets because he was

offered a high paying position on SeeCubic’s Board of Directors.

        106.      Kabacinski benefited from the improper theft of Stream TV’s assets because he was

offered a high paying position on SeeCubic’s Board of Directors and was made CEO of SeeCubic.

        107.      Upon information and belief, Miles benefited from the improper theft of Stream

TV’s assets because he received shares of SeeCubic’s stock as part of the Omnibus Agreement.

        108.      Upon information and belief, Petch benefited from the improper theft of Stream

TV’s assets because he received shares of SeeCubic’s stock as part of the Omnibus Agreement.


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        109.      Upon information and belief, John Does 1-75 benefited from the improper theft of

Stream TV’s assets because those individuals received shares of SeeCubic’s stock as part of the

Omnibus Agreement.

        G.        The Omnibus Agreement is Invalid Because Stream TV’s Charter Bars
                  Transfer of Stream TV’s Assets Without the Approval of the Class B
                  Shareholders

        110.      On June 15, 2022, the Delaware Supreme Court issued an opinion finding that the

Omnibus Agreement was not valid because Stream TV’s Class B Shareholders did not vote to

approve it.

        111.      Thus, the Supreme Court’s ruling confirms that Gollop and Gola wrongfully caused

Stream TV to enter into the Omnibus Agreement and that Defendants’ appropriation of Stream

TV’s assets was unlawful.

                               Count I—Conversion (All Defendants)

        112.      Plaintiff realleges and incorporates by reference, as though fully set forth herein,

the allegations in the foregoing paragraphs.

        113.      As described above, by orchestrating a plan to manufacture Stream TV’s default on

the notes, which then paved the way for the Omnibus Agreement, Defendants unlawfully used this

scheme to appropriate Stream TV’s assets through the Omnibus Agreement.

        114.      Stream TV possesses, and has always possessed, a property interest in and right to

possess its assets and intellectual property.

        115.      Defendants wrongfully exercised dominion and control over Stream TV’s assets by

manufacturing a default event, improperly approving and causing the approval of the Omnibus

Agreement, taking Stream TV’s assets and giving them to SeeCubic, and, in some cases, disposing

of certain assets as if they were Defendants’ own assets.


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        116.      As a direct result of Defendants’ conversion of Stream TV’s assets, Stream TV has

suffered damages in an amount to be determined at trial.

                               Count II—Civil Conspiracy (All Defendants)

        117.      Plaintiff realleges and incorporates by reference, as though fully set forth herein,

the allegations in the foregoing paragraphs.

        118.      Defendants conspired together and knowingly participated in a scheme to

wrongfully convert Stream TV’s assets for their personal benefit.

        119.      In furtherance of the conspiracy, Stastney, Morton, and Crawford offered Gola,

Gollop, and Kabacinski lucrative jobs in exchange for approving and executing the Omnibus

Agreement. And, Miles, Petch, Hawk, and John Does 1-75 were incentivized to participate in and

further the conspiracy because SeeCubic would obtain and control Stream TV’s valuable assets

from which SeeCubic’s shareholders could profit, and all Defendants, including Miles, Petch,

Hawk, and John Does 1-75, were given shares of SeeCubic.

        120.      Once the Omnibus Agreement was signed, Defendants caused the transfer of

Stream TV’s assets to SeeCubic. Defendants therefore unlawfully stole Stream TV’s assets.

        121.      The conspiracy benefited Defendants and harmed Stream TV in that Stream TV

was wrongfully deprived of its valuable assets, some of which were destroyed, and Defendants

benefited from their misconduct due to their ownership of stock in SeeCubic, which received

Stream TV’s valuable assets, and correspondingly increased SeeCubic’s own value.

        122.      Defendants acted together as a confederation and committed the unlawful acts

described herein, which caused damage to Stream TV by forcing Stream TV into default and

depriving Stream TV of its valuable assets.




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                          Count III—Unjust Enrichment (All Defendants)

        123.      Plaintiff realleges and incorporates by reference, as though fully set forth herein,

the allegations in the foregoing paragraphs.

        124.      Defendants have been enriched by their illegal takeover and control of Stream TV

and its assets.

        125.      Stream TV has been impoverished by Defendants’ actions.

        126.      There is a relationship between the enrichment and the impoverishment because

Defendants were unjustly enriched by exerting control over Stream TV to force it into default, to

manufacture a basis for the Omnibus Agreement, so that Defendants could unlawfully obtain

Stream TV’s valuable assets to the detriment of Stream TV.

        127.      Defendants lack any justification in taking control over Stream TV and its assets.

        Count IV—Breach of Fiduciary Duty (Against Gola and Gollop)

        128.      Plaintiff realleges and incorporates by reference, as though fully set forth herein,

the allegations in the foregoing paragraphs.

        129.      As directors of Stream TV both before and after the Omnibus Agreement was

executed, Gola and Gollop owed Stream TV the fiduciary duty of loyalty, which obligates them to

act in good faith in the best interests of Stream TV.

        130.      In approving the Omnibus Agreement, Gola and Gollop stood on both sides of the

transaction because they stood to profit personally from it as they would become directors and

stockholders of SeeCubic if the Omnibus Agreement succeeded. Gola’s and Gollop’s decision to

use the Omnibus Agreement to divert Stream TV’s assets to SeeCubic, an entity they and other

Defendants control, demonstrates a lack of good faith.

        131.      As alleged herein, Gola and Gollop engaged in an opportunistic and disloyal

scheme to profit personally by approving the Omnibus Agreement to allow Defendants, including
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themselves, to steal from Stream TV. Further, they did so without seeking third-party legal advice

on a significant transaction affecting hundreds of shareholders and millions of dollars in assets.

        132.      Gola and Gollop put their personal interests above the interests of Stream TV by

devising, structuring, and approving the Omnibus Agreement, which was designed to allow Gola

and Gollop, and the other Defendants to capitalize and profit from Stream TV’s valuable assets.

This was a disloyal and bad faith act undertaken for no legitimate business purpose and in direct

contravention of Gola’s and Gollop’s fiduciary duties under Delaware law.

        133.      Based on the foregoing, Gola and Gollop breached their fiduciary duties.

    Count V—Aiding and Abetting Breach of Fiduciary Duty (Against Stastney, Morton,
                 Crawford, Miles, Petch, Hawk, and John Does 1-75)

        134.      Plaintiff realleges and incorporates by reference, as though fully set forth herein,

the allegations in the foregoing paragraphs.

        135.      Defendants Stastney, Morton, Crawford, Miles, Petch, Hawk, and John Does 1-75

aided and abetted breaches of fiduciary duty by Gola and Gollop.

        136.      Upon information and belief, Defendants Stastney, Morton, Crawford, Miles, Petch,

Hawk, and John Does 1-75 knew that Gola and Gollop were on Stream TV’s Board and that Gola

and Gollop owned fiduciary duties to Stream TV, and that signing the Omnibus Agreement would

breach Gola’s and Gollop’s fiduciary duties.

        137.      Defendants Stastney, Morton, Crawford, Miles, Petch, Hawk, and John Does 1-75

acted with knowledge of Gola’s and Gollop’s breaches of fiduciary duty to Stream TV and actively

participated in those breaches of fiduciary duty by encouraging Gola and Gollop to enter into the

Omnibus Agreement, knowing that Gola and Gollop would receive compensation and stock in

SeeCubic in return for their actions (at least because Stastney, Crawford, and Morton had offered

Gola and Gollop these benefits).

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            138.   Defendants Stastney, Morton, Crawford, Miles, Petch, Hawk, and John Does 1-75

knowingly aided and abetted the Gola’s and Gollop’s wrongdoing alleged herein and rendered

substantial assistance to them.

            139.   As a result of this conduct, Stream TV has been harmed.

   Count VI—Tortious Interference With Prospective Economic Advantage (Against All
                                    Defendants)

            140.   Plaintiff realleges and incorporates by reference, as though fully set forth herein,

the allegations in the foregoing paragraphs.

            141.   Plaintiff had an economic relationship with Alphabet and Google, with the

probability of entering into an agreement for Plaintiff to provide technology to Alphabet and

Google.

            142.   Defendants were aware of Plaintiff’s relationship with Alphabet and the anticipated

business relationship that would result. Defendants took intentional actions that were designed to

interfere with and disrupt the Alphabet relationship, including manufacturing Stream TV’s default

and creating the Omnibus Agreement as a way to convert and appropriate Stream TV’s assets.

            143.   Defendants’ interference was wrongful in that, among other things, it involved: (i)

a breach of fiduciary duty by Gola and Gollop, (ii) conversion of Stream TV’s assets, and (iii)

conspiracy to steal and divert Stream TV’s assets to SeeCubic.

            144.   Defendants’ interference with the Alphabet relationship disrupted Stream TV’s

relationship and opportunity with Alphabet, which has caused harm to Plaintiff because as a direct

and proximate result of that interference, Plaintiff was unable to pursue a deal with Alphabet

further. Plaintiff has and will continue to suffer monetary damages in an amount to be determined

at trial.



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                         Count VII—Civil RICO (Against All Defendants)

        145.      Plaintiff realleges and incorporates by reference, as though fully set forth herein,

the allegations in the foregoing paragraphs.

        146.      As described above, Defendants directed the conduct of their enterprise to illegally

take possession of Stream TV’s assets and intellectual property.

        147.      Defendants took over Stream TV through a pattern of bribery and threats of

financial loss.

        148.      Defendants’ unlawful conversion of Stream TV’s assets and intellectual property

deprived Stream TV of its assets and intellectual property, causing injury to Stream TV.

                                      REQUEST FOR RELIEF

        WHEREFORE, Plaintiff respectfully asks the Court to enter an order:

        A.        Directing Defendants to return Stream TV’s assets that they have in their possession,

custody, or control that the Defendants removed from Stream TV.

        B.        Awarding Stream TV damages for conversion, civil conspiracy, unjust enrichment,

breach of fiduciary duty, aiding and abetting breach of fiduciary duty, tortious interference with

prospective economic advantage, and violations of the civil RICO statute, including treble

damages, in an amount to be proved at trial.

        C.        Awarding Stream TV its costs and expenses, including reasonable attorneys’ fees

and costs, incurred in this action;

        D.        Awarding Stream TV pre- and post-judgment interest; and

        E.        Granting such other and further relief that this Court deems just, proper and

equitable.




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 Dated: July 28, 2022                        McCARTER & ENGLISH, LLP

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                                                          The First State



                I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

       DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

       COPY OF THE RESTATED CERTIFICATE OF “STREAM TV NETWORKS, INC.”,

       FILED IN THIS OFFICE ON THE SEVENTEENTH DAY OF DECEMBER, A.D.

       2018, AT 11:27 O`CLOCK A.M.

                A FILED COPY OF THIS CERTIFICATE HAS BEEN FORWARDED TO THE

       NEW CASTLE COUNTY RECORDER OF DEEDS.




   4747282 8100                                                                Authentication: 204113537
   SR# 20188181729                                                                         Date: 12-17-18
   You may verify this certificate online at corp.delaware.gov/authver.shtml

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